                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN

                                 Court Minutes and Order

DATE:      November 20, 2024
JUDGE:     Pamela Pepper
CASE NO:   2024-cv-416
CASE NAME: Marwan Mahajni v. Milwaukee, County, et al.
NATURE OF HEARING:       Motion hearing
APPEARANCES:             Annalisa Pusick - Attorney for the plaintiff
                         Kimberley Motely – Attorney for the plaintiff
                         Madison Bedder – Attorney for the plaintiff
                         Brianna Meyer – Attorney for the defendants
COURTROOM DEPUTY:        Kristine Wrobel
TIME:                    1:33 p.m. – 3:03 p.m.
                   AUDIO OF THIS HEARING AT DKT. NO. 38
       The court advised the parties that it was prepared to issue an oral ruling
on the defendants’ motion for judgment on the pleadings. The court explained
that it would post the recording of the ruling on the docket, and that at the end
of the ruling it would explain how the parties could obtain the recording on a
thumb drive or could obtain a transcript. The court then issued a detailed oral
ruling, granting in part and denying in part the defendants’ motion for
judgment on the pleadings and explaining its reasoning for doing so.

      At the end of the ruling, the court reiterated that it would put the
recording of the ruling on the docket, and they could listen to it from their own
computers. It explained that if they wanted the recording on a thumb drive,
they could contact the clerk’s office and make that request. If the parties
wanted a transcript of the hearing and oral ruling, they could find a transcript
order form on the court’s website.

      For reasons stated in detail on the record, the court GRANTS IN PART
AND DENIES IN PART the defendants’ motion for judgment on the pleadings.
Dkt. No. 20.

       The court GRANTS the defendants’ motion for judgment on the pleadings
as it relates to the plaintiff’s state-law claims, Monell claims, defendant
Milwaukee County and defendant former sheriff David Clarke.

       The court DENIES the motion for judgment on the pleadings as it relates
to the defendants’ arguments regarding the statute of limitations and Deputy
Do being entitled to absolute immunity.




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      The court DENIES WITHOUT PREJUDICE the motion for judgment on
the pleadings as it relates to the defendants’ arguments regarding Deputy Do
and Deputy Woida being entitled to qualified immunity.

     The court ORDERS that the plaintiff’s state-law and Monell claims are
DISMISSED.

       The court ORDERS that defendants Milwaukee County and former
sheriff David Clarke are DISMISSED.

      The court ORDERS that by the end of the day on December 3, 2024, the
parties must file a joint Rule 26(f) plan. The court advised the parties to review
Dkt. No. 17 regarding the information they must include in the plan.

      Dated in Milwaukee, Wisconsin this 20th day of November, 2024.

                                            BY THE COURT:


                                            ___________________________________
                                            HON. PAMELA PEPPER
                                            Chief United States District Judge




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